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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-0576V
                                        UNPUBLISHED


    JOHN McFARLAND,                                         Chief Special Master Corcoran

                        Petitioner,                         Filed: August 24, 2021
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Jonathan Svitak, Shannon Law Group, Woodbridge, IL, for Petitioner.

Kyle Pozza, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT 1

       On May 8, 2020, John McFarland filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that he suffered a shoulder injury related to vaccine
administration (SIRVA) as a result of an influenza (“flu”) vaccine received on October 2,
2018. Petition at ¶¶ 2, 19. The case was assigned to the Special Processing Unit of the
Office of Special Masters.

       On August 24, 2021, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, it is Respondent’s position that Petitioner had no history of pain,
inflammation, or dysfunction in his left shoulder; Petitioner’s pain and reduced range of

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  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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motion occurred within 48 hours of receipt of an intramuscular vaccination; Petitioner’s
symptoms were limited to the shoulder in which the vaccine was administered; and no
other condition or abnormality has been identified to explain his symptoms. Id. at 4.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                 s/Brian H. Corcoran
                                 Brian H. Corcoran
                                 Chief Special Master




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